Case 2:19-cv-02373-JTF-tmp Document 25 Filed 07/01/19 Page 1 of 2        PageID 105




              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF TENNESSEE
                       WESTERN DIVISION

 JOHN COE,                               )
                                         )
       Plaintiff,                        )
                                         )
 v.                                      ) Case No. 2:19-cv-02373-JTF-tmp
                                         )
 RHODES COLLEGE,                         )
                                         )
       Defendant.                        )
                                         )

JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE


      COME NOW Plaintiff John Coe and Defendant Rhodes College, by and

through their respective undersigned counsel, and, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), hereby jointly stipulate that the above-styled action is

voluntarily dismissed with prejudice.

      Respectfully submitted this 1st day of July 2019.

 /s/ Bryce Ashby with permission        /s/ James A. Haltom
 Donald A. Donati (BPRN 8633)           James A. Haltom (BPRN 28495)
 Bryce W. Ashby (BPRN 26179)            Woods Drinkwater (BPRN 33838)
 DONATI LAW, PLLC                       NELSON MULLINS RILEY &
 1545 Union Avenue                      SCARBOROUGH, LLP
 Memphis, TN 38104                      One Nashville Place, Suite 1100
 Email: don@donatilaw.com               150 Fourth Avenue North
 Email: bryce@donatilaw.com             Nashville, TN 37219
 Counsel for Plaintiff                  Phone: (615) 664 – 5339
                                        Fax: (615) 664 – 5399
                                        Email: james.haltom@nelsonmullins.com
                                        Email: woods.drinkwater@nelsonmullins.com
Case 2:19-cv-02373-JTF-tmp Document 25 Filed 07/01/19 Page 2 of 2      PageID 106




                                     Daniel A. Cohen
                                     Georgia Bar No. 173474
                                     Pro hac vice application pending
                                     Ashley A. Akins
                                     Georgia Bar No. 852607
                                     Pro hac vice application pending
                                     NELSON MULLINS RILEY &
                                     SCARBOROUGH LLP
                                     Atlantic Station / Suite 1700
                                     201 17th Street, NW
                                     Atlanta, GA 30363
                                     Phone: (404) 322-6223
                                     Fax: (404) 322-6050
                                     Email: dan.cohen@nelsonmullins.com
                                     Email: ashley.akins@nelsonmullins.com
                                     Counsel for Rhodes College

                        CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was served on counsel of record by the
Court’s ECF system and by placing a true and accurate copy in the U.S. Mail,
postage prepaid, to the following:


                              Donald A. Donati, Esq.
                              Bryce W. Ashby, Esq.
                              Donati Law, PLLC
                              1545 Union Avenue
                              Memphis, TN 38104
                              Email: don@donatilaw.com
                              Email: bryce@donatilaw.com


 Dated July 1, 2019.                             /s/ James A. Haltom
                                                 James A. Haltom
